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   United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0001-MCE
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         STATUS CONFERENCE
13                          v.
14   TONY ACOSTA ALVAREZ, and                            Date:      January 24, 2019
     LIONEL ORNELAS, aka Lionel Ornelus,                 Time:      10:00 a.m.
15                                                       Judge:     Hon. Morrison C. England, Jr.
                                 Defendants.
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18          Plaintiff United States of America, through its respective counsel, and defendants Tony Acosta

19 Alvarez and Lionel Ornelas, through their counsel of record, stipulate that the status conference currently
20 set for January 24, 2019, be continued to March 14, 2019, at 10:00 a.m.
21          On January 4, 2018, Mr. Alvarez and Mr. Ornelas were both arraigned on the twenty-nine-count

22 Indictment in this case. (ECF No. 21.) Following the arraignment, the United States produced 300-plus
23 pages of discovery to each defendant, which included the defendants’ criminal histories, three complete
24 search warrant packages from the day each man was arrested at his home in December 2017, and all of
25 the investigative packages (i.e., pen-trap and § 2703(d) packages) submitted to the Court during this 8-
26 month investigation. In October 2018, the government produced additional discovery to each defendant,
27 which included over 1,000 pages of reports and memoranda, as well as 32 compact disks with audio and

28 video recordings from surveillance. Counsel for both defendants require additional time to review these

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 1 materials, as well as the materials already produced, time to discuss them their clients, time to conduct
 2 additional investigation, and time to otherwise prepare for trial.
 3          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

 4 January 24, 2019, be continued to March 14, 2019, at 10:00 a.m. The parties further agree that time
 5 under the Speedy Trial Act should be excluded from the date the parties stipulated, up to and including
 6 March 14, 2019, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

 7 Order 479 [Local Code T4], based on continuity of counsel and defense preparation.
 8          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 9 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.
10 The parties also agree that the ends of justice served by the Court granting the requested continuance
11 outweigh the best interests of the public and the defendants in a speedy trial.
12                                                        Respectfully submitted,

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14 Dated: January 23, 2019                                _/s/ Timothy H. Delgado____________
                                                          TIMOTHY H. DELGADO
15                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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     Dated: January 23, 2019                              _/s/ THD for Michael Petrik, Jr.______
18                                                        MICHAEL PETRIK, JR.
                                                          Assistant Federal Defender
19                                                        Attorney for Defendant Tony Acosta Alvarez
20
21 Dated: January 23, 2019                                _/s/ THD for Tasha Paris Chalfant____
                                                          TASHA PARIS CHALFANT
22                                                        Attorney for Defendant Lionel Ornelas
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 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the
 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective
 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of
 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendants in a speedy trial.
 8          The Court orders that the time from the date the parties stipulated, up to and including March 14,

 9 2019, shall be excluded from computation of time within which the trial in this case must begin under
10 the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and
11 General Order 479 [Local Code T4]. It is further ordered that the January 24, 2019 status conference be
12 continued until March 14, 2019, at 10:00 a.m.
13          IT IS SO ORDERED.

14 Dated: January 23, 2019
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      STIPULATION AND ORDER TO CONTINUE STATUS             3
30    CONFERENCE
